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       Attorney General Merrick Garland v. Peter Strzok
           In re Subpoena Served on Donald Trump
                 Case No. 1:22-mc-00027-ABJ




                   EXHIBIT C
       DOJ Executive Calendar Entries

Exhibit to Plaintiff Peter Strzok’s Notice in Response
    to the Court’s April 27, 2022 Minute Order


                          May 6, 2022
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 January 22, 2018                                                                                                                   Exhibit No
                                                                                                                                    Date:   Q,)         c
 Monday
                                                                                                                                                  -


                                                                                                                                                      T. Alt aro
8:20 AM    -       9:00 AM            Senior Meeting    --AG's Office
                                      Location: AG's office
                                      POC: Malt Whitaker
                                      Attendees: Malt Whitaker, DAG Rod Rosenstein, Danielle Cutrona, Corey Ellis   ,   Jesse Panuccio, Ed
                                      O'Callaghan, Sarah Flores, Stephen Boyd

                                      Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                      invitation without prior permission of the OAG scheduling office. If you believe that the Invitation was
                                      received in error or that other individuals should be included, please contact the OAG scheduling office.




900 AM     -       9:30 AM            Phone Call: Senator Cotton  -- AG's Office
                                      I-Vu: Uanielle Lutrona
                                      Attendees: Danielle Cutrona, Gene Hamilton
                                      Senator t,tturi to LaltSuzanna




                                      Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                      invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                                      received in error or that other individuals should be included, please contact the OAG scheduling office.




12:00 PM       -       1:30 PM        Lunch at WH  -- WH Executive Dining Room
                                      POC: Malt Whitaker
                                      Attendees: AG and Malt Whitaker
                                      Scheduler: Reid Coleman Office: (b)(6)
                                                              -                       Cell:   (b)(6)
                                      Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                      invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                                      received in error or that other individuals should be included, please contact the OAG scheduling office.




12'00-PM--4'00--PM                    LUNCH
                                      POC:
                                      Attendees:




                                      Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                      invitation without prior permission of the OAG schedulinci office. If you believe that the invitation was
                                      received in error or that other individuals should be included, please contact the OAG scheduling office.




12:15 PM       -       12:15 PM       En Route to the White House
                                      In Limo* AG andJda1tThilaker




                                      Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                      invitation without prior permiesion of the OAG scheduling office. If you believe that the invitation was
                                      received in error or that other individuals should be included, please contact the OAG scheduling office.




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       II          -
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 January 22, 2018 Continued
 Monday
2:30 PM   -   2:30 PM          En Route to AG's Office
                               In Limo: AG and Matt Whitaker




3:20 PM   -   3:50 PM          Phone Call: Office of Congressman Mark Meadows      --   AG's Office
                               POC: Mall Whitaker
                               Attendees: Matt Whitaker and Danielle Cutrona
                               Call in: Congressman to be connected thru Suzanna




                               Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                               invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                               received in error or that other individuals should be included, please contact the OAG scheduling office.




4:00 PM   -   4:30 PM          Supreme Court Luncheon Speech Prep    -- AG's Office
                               POC: Rachael Tucker
                               Attendees: Rachael Tucker and Sarah Flores




Flannigan, Brian (DIP)                                         415                                                    7/17/2019 11:50 AM
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 January 23, 2018
 Tuesday
 820 AM        -       9:00 AM         Senior Meeting   -- AGs Office
                                       Location: AG's office
                                       POC: Malt Whitaker
                                       Attendees: Malt Whitaker, DAG Rod Rosenstein, Danielle Cutrona, Corey Ellis         Jesse Panuccio, Ed
                                       O'Callaghan, Sarah Flores, Stephen Boyd

                                       Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                       invitation without prior permission ofihe OAG scheduling office. If you believe that the Invitation was
                                       received in error or that other individuals should be included, please contact the OAG scheduling office.




 9:15 AM   -           9:15 AM         En Route to White House
                                       In Limo: AG, Malt, Danielle




 9:30 AM   -           10:30 AM        Meeting with COS Kelly   --White House,Chief Kelly's office (WW 122).
                                       POC: Malt Whitaker
                                       Attendees: Malt Whitaker, Dan              rah Isgur Flores, Gene Hamilton, Gary Barnett
                                       WH POC: Emily J. McBride, C: (b)(6)


 10-30 AM          -    10:30 AM       En Route to DOJ
                                       Attendees:AG and Malt Whitaker




 11:20 AM          -    11:20 AM       En Route to Supreme Court
                                       In Limo: AG and Rachael Tucker



 11:45 AM          -    12:00 PM       Meet/Greet Chief Justice Roberts   --Judge Chambers
                                       POC: TBD
                                       Attendees: TBD
                                       Supreme Court: Chief Justice Roberts, and Chief Justice, Mr. Jeffrey Minear




12:00 PM           -   1:00 PM         Speaking Engagement Law Clerk Supreme Court Luncheon            US Supreme Court: West Conference Room
                                       at the Court
                                       POC: Rachael Tucker and Sarah Flores
                                       Attendees: Rachael Tucker
                                       Event POC: Margarita Kofalt (bX6)
                                       Security POC: Sergeant (b)(o)     tO)I0)                         Office:   (b)(6)           Cell: (b)(6)



1.00 PM    -       1.
                    00 PM              En Route to DOJ
                                       In Limo: AG and Rachael Tucker




245 PM     -       3:00 PM             Meeting   --AGs Office
                                       POC. Danielle Cuirunci
                                       Attendees: Danielle Cutrona and Malt Whitaker




                                       Mete   This-meeting-is-limited-te-the-irryited attendees-onty-You-are-not-authorized to-forward-this
                                       invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                                       received in error or thdt utlier lrrdiviuuals should be included, please cuntaL.t the OAG scheduling office.




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     PM---3-AS-PM                             Rachael Tucker
                      Case 1:22-mc-00027-ABJ Document 17-4 Filed 05/06/22 Page 5 of 5


 January 23, 2018 Continued
 Tuesday
345 PM       -   4:00 PM          Phone call prep: Davidson --AGs Office
                                  POC: Rachael Tucker
                                  Attendees: Rachael Tucker and TBD




                                    ute. Tlis iiieetingislimited tu the nivited atteiidee Only. You are not authorized to furward tlii
                                  invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                                  received in error or that other individuals should be included, please contact the OAG scheduling office.



4U0PM4:15 PM                     Phone Call PidlttAGce
                                 Attendees: Stephen Boyd, Danielle Cutrona and Gene Hamilton




                                 Nuttr Thib iiieetiriij IS tiiriited -to--the iiwited attendeeb uiily. Yuu are nut duttlolized tu lorwaid this
                                 invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                                 received in error or that other individuals should be included, please contact the OAG scheduling office.



4:15 PM          4:45 PM         PHONE CALL Chairman Goodlatte       --   AGs Office
                                 POC: TBD
                                 Attendees: TBD
                                 Call-in Info: AG to call (b)(6)




                                 Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                 invitation without prior permission of the OAG scheduling office. If you believe that the Invitation was
                                 received in error or that other individuals should be included, please contact the OAG scheduling office.



445 PM       -   5:15 PM         PHONE CALL Congressman Davidson          --   AG's Office
                                 POC: Rachael Tucker
                                 Attendees: Rachael Tucker
                                 Call in Info: AG to call (b)(6)




                                 Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                 invitation without prior permission of the OAG scheduling office. If you believe that the invitation was
                                 receivedinccoec-thatothecindivi4ualshould -be; ncliidedTptease-eontacttheOAGscheduling offk



5.30 PM—         .00-PM          PHONE C-AW-Senator-Cotton--.'.-A6s Offi
                                 POC: Danielle Cutrona
                                 Attendees Dan elle ufronarGene-Hamilton rPrim Escal


                                 Note: This meeting is limited to the invited attendees only. You are not authorized to forward this
                                 invitation-without-prier-permission-of the OAGcheduhingefflee-1fou-beIieve-that-the -invithtion-wac
                                 received in error or that other individuals should be included, please contact the OAG scheduling office.




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